Case 2:02-cv-02489-BBD-STA Document 21 Filed 06/23/05 Page 1 of 4 Page|D 18

|N THE UNlTED STATES DlSTR|CT COURT FlED B'Y+MLD.G.
FOR THE WESTERN D|STR|CT OF TENNESSEE

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KENT ooRDoN GARvER, Rober: R. Di Trolio

CLEHK li$. DIST. CT.
Petitioner, W-D- OF li`\l. MEMPHIS

Cv. NO. 02-2489-D

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Respondent. ?'ize'U “°<%\
§§1»1l § i

GOVERNMENT’S MOT|ON TO CONT|NUE EVIDENT|ARY HEM

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Comes the United States of America by and through the United States Atto rn'ey for

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the Western District of Tennessee and files this motion to continue the evidentiary hearing
set in this matter for 2:00 p.m., Friday. Ju|y 1, 2005. in support of this motion the United.
States would show as follows:

The government anticipates that the only witness it will call at the evidentiary
hearing will be the defendant’s previous counse|, Assistant Federa| Pub|ic Defender, Apri|
R. Goode. N|s. Goode has advised government counsel that she needs to be in the
Eastern Division on Ju|y 1 , to prepare for a trial that is scheduled to begin on Tuesday, Juiy
5**‘.

Government counsel has contacted Mr. Robert C. Brooks, counsel for petitioner.
Nir. Brooks has advised government counsel that as of the date of this motion, his efforts
to contact petitioner regarding petitioner’s failure to appear at the last scheduled hearing

on June 3, have been unsuccessfu|, and therefore, Nlr. Brooks does not oppose the

governments motion

MOT|ON GRANTED

 

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leis document entered on the docket she t in compliarUeS. i`-i¥‘?- *"'Z's.. .' JUDGE
with §uie 53 and/or rata F§cP on_L.E;'~£Q§_

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Case 2:02-cv-O2489-BBD-STA Document 21 Filed 06/23/05 Page 2 of 4 Page|D 19

WHEREFORE, the United

evidentiary hearing in this matter.

States moves the Court for a short continuance of the

Respectfu||y submitted,

TERRELL L. HARR|S
United States Attorney

jim/5 . §§§c U-

carroll i_. Andre’ in,‘#010733
Assistant United States Attorney
167 N. Main, Room 800
|Vlemphis, TN 38103

(901) 544-4231

Case 2:02-cv-O2489-BBD-STA Document 21 Filed 06/23/05 Page 3 of 4 Page|D 20
CERT|F|CATE OF SERVICE

|, Carro|| L. Andre' |||, Assistant United States Attorney for the Western District of

Tennessee, hereby certify that a copy of the foregoing GOVERNMENT’S MOT|ON TO

CONT|NUE EV|DENT|ARY HEAR|NG has been mailed, first class postage pre-paid, to lVlr.

Robert C. Brooks, Attorney at Law, P.O. Box 771558, |V|emphis, Tennessee, 38177.

This Zl"q;yof =/`1@¢&,2005.

/
. {-J/
Carro|| l_. Andre' ||

Assistant United States Attorney

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:02-CV-02489 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

ESSEE

 

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Robert C. Brooks

LAW OFFICE OF ROBERT C. BROOKS
P.O. Box 771558

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Honorable Bernice Donald
US DISTRICT COURT

